






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00550-CV






In re James John Palermo






ORIGINAL PROCEEDING FROM WILLIAMSON COUNTY





M E M O R A N D U M   O P I N I O N


	Relator James John Palermo has filed a petition for writ of mandamus, seeking
relief&nbsp;from an order signed by the trial court ten months ago, on October 23, 2007, modifying a prior
custody order.  See Tex. R. App. P. 52.8.  That order was a final, appealable order, subject to
the&nbsp;procedural rules applied to other appeals.  See Bilyeu v. Bilyeu, 86 S.W.3d 278, 280
(Tex.&nbsp;App.--Austin 2002, no pet.) ("In a suit to modify a SAPCR, . . . the original decree remains
final and a new final order results from the modification proceeding."); In re N.J.G., 980 S.W.2d
764, 766-67 (Tex. App.--San Antonio 1998, no pet.) ("The Texas Family Code permits a party to
appeal 'a final order' in a suit affecting the parent-child relationship.").  Thus, to attack the order,
Palermo had to file a notice of appeal within the usual appellate deadlines.  See Tex. R. App. P. 26.1. 
We deny the petition for writ of mandamus.


					__________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Waldrop

Filed:   September 5, 2008


